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16
17                        IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19   United States of America,                              No. CR-18-00422-PHX-SMB
20                         Plaintiff,
21                                                        UNITED STATES’ MOTION TO
              v.                                          CONFIRM TRIAL SUBPOENAS
22
23   Michael Lacey, et al.,

24                         Defendants.

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26
27          The United States respectfully requests the Court to confirm the trial subpoenas
28   issued to all witnesses for the previous jury trial dates of May 5, 2020 and August 17, 2020


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 1   to remain in effect for the current jury trial set for January 12, 2021.
 2          Respectfully submitted this 14th day of July, 2020.
 3
                                                 MICHAEL BAILEY
 4                                               United States Attorney
                                                 District of Arizona
 5
                                                 s/ Kevin M. Rapp
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19
20                                 CERTIFICATE OF SERVICE
21
            I hereby certify that on this same date, I electronically transmitted the attached
22
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
23
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
24
     as counsel of record.
25
26   s/ Marjorie Dieckman
     U.S. Attorney’s Office
27
28


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